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 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10

11
        PAUL SAPAN,                                             Case No.: 8:15-cv-01945 MWF KES

12                      Plaintiff,
                                                                ORDER OF DISMISSAL WITH
13
                vs.                                             PREJUDICE OF DEFENDANT
14                                                              CARIBBEAN CRUISE LINE, INC.
15      CARIBBEAN CRUISE LINE, INC., a
16
        Florida Corporation,

17                       Defendants.
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19                                                              Judge: Hon. Michael W. Fitzgerald
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                           [proposed] ORDER OF DISMISSAL WITH PREJUDICE
     Case 8:15-cv-01945-MWF-KES Document 56 Filed 04/12/17 Page 2 of 2 Page ID #:596




 1
              Pursuant to the stipulation of the parties for dismissal with prejudice and all

 2     other papers and arguments submitted with respect thereto, and good cause
 3
       appearing therefore,
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 6
       IT IS HEREBY ORDERED THAT:
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 8     This case is hereby dismissed with prejudice as to the only remaining Defendant,
 9
       CARIBBEAN CRUISE LINE, INC., and, no other defendants remaining,
10
       dismissed in its entirety.
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14     IT IS SO ORDERED.
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16
       DATED: April 12, 2107

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                                                              ______________________________
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                                                              HON. MICHAEL W. FITZGERALD
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                           [proposed] ORDER OF DISMISSAL WITH PREJUDICE
